Case 18-21030-GLT Doc 24-7 Filed 02/23/21 Entered 02/23/21 11:55:57     Desc
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Case 18-21030-GLT Doc 24-7 Filed 02/23/21 Entered 02/23/21 11:55:57     Desc
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Case 18-21030-GLT Doc 24-7 Filed 02/23/21 Entered 02/23/21 11:55:57     Desc
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Case 18-21030-GLT Doc 24-7 Filed 02/23/21 Entered 02/23/21 11:55:57     Desc
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Case 18-21030-GLT Doc 24-7 Filed 02/23/21 Entered 02/23/21 11:55:57     Desc
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Case 18-21030-GLT Doc 24-7 Filed 02/23/21 Entered 02/23/21 11:55:57      Desc
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